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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                            CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                     CLERK OF COURT


Date: April 18, 2024                                            DC Docket #: 1:22-cv-7301
Docket #: 24-749                                                DC Court: SDNY (NEW YORK
Short Title: Terra Towers Corp. v. Telecom Business             CITY)
Solution, LLC                                                   Trial Judge - Lewis A. Kaplan



                    NOTICE OF REQUIRED CASE STATUS UPDATE

A notice of appeal was filed in this case on March 21, 2024. Since at least one motion cited in
FRAP 4(a)4 has been filed in the district court this appeal is stayed pending resolution of the
motion(s).

Appellant is directed to inform this Court in writing of the status of the motion(s) at 30 day
intervals beginning 30 days from the date of this notice, and within 14 days after final disposition
of the last outstanding motion. Appellant is also directed to provide the Court with a copy of all
dispositive orders.

Inquiries regarding this case may be directed to 212-857-8539.
